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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       §
 Plaintiff,                                     §
                                                §
 V.                                             § CRIMINAL NO. 21-CR-225-DLF
                                                §
 TRENISS JEWELL EVANS III                       §
 Defendant.                                     §


                       UNOPPOSED MOTION FOR CONTINUANCE
           Now comes Defendant, TRENISS JEWELL EVANS III, by and through his

 undersigned counsel, and respectfully moves this Court for an order continuing his

 scheduled hearing and in support would show the following:

          1.     Defendant’s Plea Agreement Hearing set for 2/4/2022 at 12:00 PM.

          2.     Undersigned Counsel respectfully requests additional time to review all

discovery specifically for purposes of complying with the court’s order to provide all

relevant video evidence, which prior counsel did not do.

          3.     Undersigned counsel has conferred with Christopher Brown, Assistant

UnitedStates Attorney, regarding this Motion and Mr. Brown is unopposed.

          4.       Undersigned Counsel respectfully requests a two week continuance.

          5.     This Motion is made not for the purposes of delay, but that justice may be

served.

          WHEREFORE, Defendant respectfully requests this Honorable Court to grant this

Motion for Continuance, and forsuch other and further relief as this Honorable Court deems

just and proper.

                              <<< SIGNATURE NEXT PAGE >>>
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                                          Respectfully submitted,

                                           _/s/________________
                                          John M. Pierce
                                          Managing Partner
                                          John Pierce Law
                                          P: (213) 349-0054
                                          21550 Oxnard Street
                                          3rd Floor PMB #172
                                          Woodland Hills, CA 91367

                                          Attorney For Defendant, Treniss Jewell Evans
                                          III




                           CERTIFICATE OF SERVICE

  I do hereby certify that a true and correct copy of the foregoing Unopposed Motion for

Continuance was electronically filed with the Clerk of this Honorable Court using the

CM/ECF system which will send notification electronically to Christopher Brown,
      Case 1:21-cr-00225-DLF Document 30 Filed 02/03/22 Page 3 of 4



Assistant United States Attorney.

       SIGNED on this the 2nd day of February 2022.


                                      Respectfully submitted,

                                     John M. Pierce
                                     Managing Partner
                                     John Pierce Law
                                     P: (213) 349-0054
                                     21550 Oxnard Street
                                     3rd Floor PMB #172
                                      Woodland Hills, CA 91367
      Case 1:21-cr-00225-DLF Document 30 Filed 02/03/22 Page 4 of 4




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                 §
Plaintiff,                               §
                                         §
V.                                       § CRIMINAL NO. 21-CR-225-DLF
                                         §
TRENISS JEWELL EVANS III                 §
Defendant.                               §

                                     ORDER

       On this date came on to be considered Defendant TRENISS JEWELL EVANS’

Unopposed Motion for Continuance, and said Motion is hereby

     GRANTED         DENIED.

SIGNED on this the       day of               , 2022.



                                         UNITED STATES DISTRICT JUDGE
                                         DABNEY L. FRIEDRICH
